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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)        ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                                 UNITED STATES DISTRICT COURT                                                         LODGED
                                                                                                               CLERK, U.S. DISTRICT COURT




                                                        for the                                                5/31/2022
                                                                                                            CENTRAL DISTRICT OF CALIFORNIA
                                                                                                                          CD
                                                                                                             BY: ____________BB______ DEPUTY



                                            Central District of California

 United States of America

                    v.

 MIGUEL ANGEL SAGALCORTEZ,                                        Case No.    2:22-mj-02147-DUTY
   aka “Miguel Angel Sagal Cortez,”
   aka “Miguel Angel Sagalcortes,”

                    Defendant.

                                CRIMINAL COMPLAINT BY TELEPHONE
                               OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date of September 30, 2021, in the county of Los Angeles in the Central District of California,

the defendant violated:

           Code Section                                           Offense Description
           8 U.S.C. §§ 1326(a), (b)(1), (b)(2)                    Illegal Alien Found in the United
                                                                  States Following Deportation, With
                                                                  Prior Felony and Aggravated Felony
                                                                  Convictions
         This criminal complaint is based on these facts:

          Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                                 /s/ Minerva Bolivar
                                                                               Complainant’s signature
                                                                       Minerva Bolivar, Deportation Officer
                                                                                Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.
 Date:                May 31, 2022
                                                                                    Judge’s signature
 City and state: Los Angeles, California                      Hon. Paul L. Abrams, U.S. Magistrate Judge
                                                                                Printed name and title




SAUSA Nevarez (213) 894-7413
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                                AFFIDAVIT
     I, Minerva Bolivar, being duly sworn, declare and state as

follows:

                       I. PURPOSE OF AFFIDAVIT

     1.      This affidavit is made in support of a criminal

complaint and arrest warrant against MIGUEL ANGEL SAGALCORTEZ,

also known as “Miguel Angel Sagal Cortez,” and “Miguel Angel

Sagalcortes,” (“SAGALCORTEZ”), charging him with violating Title

8, United States Code, Sections 1326(a), (b)(1), and (b)(2),

Illegal Alien Found in the United States Following Deportation

with Prior Felony and Aggravated Felony Convictions.

     2.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested complaint and

arrest warrant and does not purport to set forth all of my

knowledge of or investigation into this matter.         Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only.

      II. BACKGROUND OF DEPORTATION OFFICER MINERVA BOLIVAR

     3.      I am a Deportation Officer (“DO”) with the United

States Department of Homeland Security (“DHS”), Immigration and

Customs Enforcement (“ICE”).      I have been a DO with ICE,

formerly known as the Immigration and Naturalization Service
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(“INS”) since June 2009.     I am currently assigned to the Los

Angeles Enforcement and Removal Operations (“ERO”) field office.

                  III. STATEMENT OF PROBABLE CAUSE

     4.    On or about September 30, 2021, the Pacific

Enforcement Response Center (“PERC”) received an electronic

notification based on biometric fingerprint that SAGALCORTEZ, a

previously deported criminal alien, was arrested and in the

custody of the Los Angeles Sheriff’s Department (“LASD”) in Los

Angeles, California.     On or about that same day, an Immigration

Detainer was lodged but not honored.

     5.    Based on my training and experience, I know that when

an individual is fingerprinted by ICE, or the former INS, the

individual is issued a Fingerprint Identification Number

(“FIN”).   The FIN is then automatically associated with the

individual’s A-Number.     In this case, SAGALCORTEZ’s fingerprints

were assigned the FIN 1310790251, which was then linked to A-

Number 213-595-415 based on prior fingerprints located in the

DHS “A-File” bearing the number A213-595-415.

     6.    On or about May 23, 2022, I reviewed the Immigration

Alien Query (“IAQ”) electronic notification associated with

SAGALCORTEZ’s September 30, 2021 LASD arrest, and saw that the

FIN associated with the IAQ was FIN 1310790251.         I thus

confirmed that that the individual arrested on September 30,

2021, was SAGALCORTEZ, a previously deported alien.

     7.    Based on my training and experience, I know that a DHS

“A-File” is a file in which immigration records are maintained

for aliens admitted to or found in the United States.          I also

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know that a DHS A-File usually contains photographs,

fingerprints, court records of conviction, and records relating

to deportation or other actions by INS or DHS with respect to

the subject alien for whom the DHS A-File is maintained.

     8.    On or about May 23, 2022, I obtained and reviewed the

DHS A-File A213-595-415, which is maintained for the subject

alien “Miguel Angel SAGALCORTEZ.”       The A-File contained the

following documents and information:

           a.    One executed Warrant of Removal/Deportation

indicating that SAGALCORTEZ was officially removed from the

United States on or about July 28, 2021.        I know from my

training and experience that a Warrant of Removal/Deportation is

executed each time a subject alien is removed and excluded from

the United States by ICE (and its predecessor agency, INS) and

usually contain the subject’s photograph, signature, and

fingerprint.    The executed Warrant of Removal in SAGALCORTEZ’s

DHS A-File contain his photograph, signature, and fingerprint.

           b.    A certified conviction record showing that

SAGALCORTEZ was convicted on or about November 9, 2017, of

Having a Concealed Firearm in a Vehicle, a felony, in violation

of California Penal Code 25400(a)(1), in the Superior Court of

the State of California, Los Angeles County, Case Number

VA146210, for which SAGALCORTEZ was sentenced to one year and

four months’ imprisonment.

           c.    A certified conviction record showing that

SAGALCORTEZ was convicted on or about January 31, 2018, of

Assault by Means of Force Likely to Produce Great Bodily Injury,


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an aggravated felony, in violation of California Penal Code

245(a)(4), in the Superior Court of the State of California, Los

Angeles County, Case Number TA141707, for which SAGALCORTEZ was

sentenced to four years’ imprisonment.        This is an aggravated

felony crime of violence for which the term of imprisonment is

at least one year under the Immigration and Nationality Action

Section 101(a)(43)(F).

           d.    A certified conviction record showing that

SAGALCORTEZ was convicted on or about October 13, 2021, of

Possession of Firearm by a Felon, a felony, in violation of

California Penal Code 29800(a)(1), in the Superior Court of the

State of California, Los Angeles County, Case Number VA156868,

for which SAGALCORTEZ was sentenced to one year and four months’

imprisonment.

           e.    Various documents, in addition to a Notice to

Appear, indicating that SAGALCORTEZ is a native and citizen of

Mexico.   These documents include: (i) an order of the

Immigration Judge, dated July 28, 2021, ordering SAGALCORTEZ

removed to Mexico; (ii) a Record of Deportable/Inadmissible

Alien (form I-213), dated July 8, 2021, where SAGALCORTEZ states

he is a citizen and national of Mexico.

           f.    On or about May 11, 2022, I reviewed the

printouts of the Interstate Identification Index (“III”).           Based

on my training and experience, I know that the III database

tracks and records arrests and convictions of individuals

according to an individual’s FBI number.        The III printouts

confirmed that SAGALCORTEZ had been convicted of the crimes


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reflected on the documents contained in SAGALCORTEZ’s DHS A-

File.

        9.     On or about May 23, 2022, I reviewed the printouts of

ICE computer indices on SAGALCORTEZ.       Based on my training and

experience, I know that the ICE computer indices track and

document each time an alien is deported or excluded from the

United States by ICE, was deported or excluded by the former

INS, or is granted permission to enter or re-enter the United

States.       The ICE computer indices confirmed that SAGALCORTEZ had

been removed, deported, and/or excluded on or about the date

indicated on the Warrant of Removal/Deportation found in

SAGALCORTEZ’s DHS A-File.      The ICE computer indices further

indicated that SAGALCORTEZ had not applied for, or obtained from

the Attorney General or the Secretary of Homeland Security,

permission to re-enter the United States.

        10.    Based on my review of SAGALCORTEZ’s DHS A-File, I

determined that it does not contain any record of him ever

applying for or receiving from the Attorney General or the

Secretary of Homeland Security, permission to re-enter the

United States.      Based on my training and experience, I know that

such documentation is required to re-enter the United States

legally after deportation, and that if such documentation

existed, it would ordinarily be found in SAGALCORTEZ’s DHS A-

File.

                              IV. CONCLUSION

        11.    For all the reasons described above, there is probable

cause to believe that Miguel Angel SAGALCORTEZ has committed a

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violation of Title 8, United States Code, Sections 1326(a),

(b)(1), and (b)(2), Illegal Alien Found in the United States

Following Deportation with Prior Felony and Aggravated Felony

Convictions.



Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this _____
                   31st day of MAY
2022.




    PAUL L. ABRAMS
    UNITED STATES MAGISTRATE JUDGE




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